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October 7, 2021
Via ECF

The Honorable Loretta A. Preska,
United States District for the Southern District of New York,
500 Pearl Street.
New York, NY 10007.

Re: Petersen Energia Inversora S.A.U. v. Argentine Republic and YPF S.A.,
No. 15 Civ. 2739 (LAP) (“Petersen”); Eton Park Capital Mgmt. et al. v.
Argentine Republic and YPF S.A.. No. 16 Civ. 8569 (LAP) (“Eton Park’)

Dear Judge Preska:

On behalf of Defendants the Republic of Argentina and YPF S.A. (“YPF”), we
write to request a limited, 5-week extension of the rebuttal expert deadline in the above-captioned
actions and corresponding further extensions of the remaining deadlines in the case schedule.

As the Court is aware, litigation “funder” Burford Capital bought the claims of the
two Petersen plaintiffs (shell corporations created by the Eskenazi family) out of bankruptcy in
March 2015 for €15 million. Burford subsequently also invested in the claims of the Eton Park
plaintiffs (together with the Petersen plaintiffs, “Plaintiffs”), which brought their complaint in
2016. On September 24, 2021, the scope of the windfall Plaintiffs and Burford seek became
evident when Plaintiffs served the report of their damages expert

   

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and their damages expert.

 

' For example, Burford reported that at June 30, 2021, the “carrying value of the YPF-

related assets (both Petersen and Eton Park combined)” was “$775 million.” Burford Capital,
Interim Report 2021 at 45-46.
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Given the enormity of the damages Plaintiffs seek and the number and scope of
Plaintiffs’ expert reports, more than five weeks—the period allotted under the current schedule—
is needed to respond. This process is complicated by the need to coordinate with clients and experts
in Argentina, to translate entire expert reports to have copies in both Spanish and English, as well
as translate scores of documents, including legal authorities, relied on by the experts, and to
conduct depositions in two languages—significant burdens that Plaintiffs knowingly imposed
when insisting that their claims be litigated in the United States rather than in Argentina.
Defendants request an additional five weeks beyond the current due date of October 29, 2021, until
December 3, 2021, to serve rebuttal expert reports. Defendants seek an extension of the expert
reply deadline until January 14, 2022, given the upcoming holidays. Finally, Defendants seek an
eight-week period for what will now be at least 16 expert depositions, rather than the S-and-a-half
weeks in the current schedule over a period that includes the Thanksgiving, Christmas, and New
Years’ holidays.

Defendants raised their extension request with Plaintiffs, who summarily rejected
any modification (other than offering to move damages expert depositions to early
January). Plaintiffs’ refusal to agree to an extension of any other dates is unreasonable given the
massive damages amount Plaintiffs are seeking and the number of expert reports Plaintiffs have
served.

Defendants agreed to the current schedule in good faith and in the genuine hope
that the number and scope of the expert reports and depositions would permit expert discovery to
be completed in what everyone understood to be a compressed timeframe, made even tighter by
the holidays. Based on Plaintiffs’ prior representations regarding their claims, Defendants were

certainly anticipating that Plaintiffs would offer expert opinions on Argentine law and a damages
opinion; however, the opinions regarding ——_—__— are new, unexpected,
and likely neither admissible nor relevant. Nonetheless, Defendants need time to identif

additional experts to respond to these new theories and expert opinions.

  
      
  

Defendants do not believe that the testimony of Plaintiffs’ experts will withstand
scrutiny, but do need adequate time to respond.

* * *

Defendants recognize that the Court has previously granted, at the request of both
sides, several extensions in this case to permit sufficient time to complete fact discovery, which
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concluded on August 27, 2021.* Nonetheless, the fact discovery period of approximately one year
has been relatively short for an international case of this size and scope. Likewise, the expert
discovery period Defendants now seek is consonant with the number and scope of the twelve
expert reports served thus far and Defendants’ expectation that ultimately, there will be, with
rebuttal experts, 16 or more expert reports and depositions in this matter. Defendants seek entry
of the attached revised schedule in the interest of procedural fairness to allow them sufficient time
to respond to Plaintiffs’ extraordinary claims. The net effect of Defendants’ requested extensions
is that the parties’ motions for summary judgment would be fully briefed ten weeks later than
provided for in the current schedule—a modest adjustment under the circumstances.

Respectfully,
/s/ Robert J. Giuffra, Jr.

Robert J. Giuffra, Jr.

CC: Counsel of Record

 

- Defendants note that the prior extensions were largely necessitated by (1) the extensive
discovery requests Plaintiffs served after representing they would be seeking “like nothing
discovery,” (July 9, 2020 Hearing Transcript at 27:24-28:2) when they requested a short
schedule; and (11) Plaintiffs’ failure to secure and timely produce the documents of the Eskenazis.
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Proposed Revised Schedule

 

Deadline

Current

Proposed

 

Rebuttal Expert Reports Due

Friday, Oct. 29, 2021

Friday, Dec. 3, 2021

 

Reply Expert Reports Due

Monday, Nov. 22,
2021

Friday, Jan. 14, 2022

 

Status Conference

Tuesday, Dec. 7, 2021

[Jan. 18 or 21], 2022

 

Expert Discovery Closes

Friday, Dec. 31, 2021

Friday, Mar. 11, 2022

 

Motions for Summary Judgment Due

Thursday, Jan. 20,
2022

Thursday, Mar. 31,
2022

 

Opposition to Motions for Summary
Judgment Due

Thursday, March 3,
2022

Thursday, May 12,
2022

 

Replies in Support of Motions for Summary
Judgment Due

Thursday, March 31,
2022

Thursday, June 9, 2022

 

Trial

 

May 2022

 

 

TBD?

 

 

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Defendants have left the trial date off of their proposed schedule given that the schedule

includes a post-expert reports, pre-summary judgment status conference. Defendants submit
that the parties should address the timing of the pretrial order and trial at that conference.

 
